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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                               (Houston Division)

HOZAM ALAJMI,                                       )
                                                    )
                       Plaintiff,                   )
                                                    )
v.                                                  )    Civil Action No. 4:14-cv-00753
                                                    )
                                                    )
                                                    )
THE METHODIST HOSPITAL                              )
FAROUQ AQRAWI                                       )
              Defendants.                           )



                                    NOTICE OF APPEAL


         Notice is hereby given that Plaintiff Hozam Alajmi hereby appeals to the United

States Court of Appeals for the Fifth Circuit from the following:

         1) Judgment entered on February 9, 2015 GRANTING with prejudice

Defendants’ Motion to Dismiss;

         2) Judgment entered on April 20, 2015 DENYING Plaintiff’s Motion for Relief

from Judgment;

         3) Judgment entered on April 20, 2015 GRANTING Defendants’ Motion for

Attorneys’ fees.

Dated May 18, 2015

Respectfully submitted,


                                             /s/ Mehdi Cherkaoui
                                             Mehdi Cherkaoui
                                             Texas Bar No. 24086077
                                             Southern District of Texas ID No. 2101221
                                             Cherkaoui & Associates P.L.L.C.
                                             1200 Smith Street Suite 1600
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                                              ATTORNEY FOR PLAINTIFF



                             CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the above and foregoing instrument was
forwarded to all counsel of record by ECF, the court’s electronic service on this the 18th
day of May, 2015.


       Oscar L. De la Rosa
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                                                     /s/ Mehdi Cherkaoui
                                                     MEHDI CHREKAOUI
